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               EXHIBIT A
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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


IN RE SYNGENTA AG MIR 162 CORN
LITIGATION                                Master File No. 2:14-MD-02591-JWL-JPO

THIS DOCUMENT RELATES TO:                 MDL No. 2591

All Actions




      AGRISURE VIPTERA/DURACADE CLASS SETTLEMENT AGREEMENT
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         AGRISURE VIPTERA/DURACADE CLASS SETTLEMENT AGREEMENT

                                                           26th day of February, 2018 by and among
         This Agreement is made and entered into as of the ___

the Representative Plaintiffs, individually and as proposed representatives of all Class Members,

by and through Settlement Class Counsel, Subclass Counsel, and the Plaintiffs’ Negotiating

Committee, and Syngenta, by and through its attorneys (collectively referred to herein as the

“Parties”). The Parties intend this Agreement to resolve, discharge, and settle the Released Claims

of Class Members fully, finally, and forever in accordance with the terms and conditions set forth

below.

                                         WITNESSETH

         WHEREAS, there is a consolidated and coordinated multidistrict litigation pending in the

United States District Court for the District of Kansas, styled In re Syngenta AG MIR 162 Corn

Litigation, MDL No. 2591 (the “MDL Actions”), composed of actions relating to Agrisure Viptera

and/or Agrisure Duracade Corn Seed that Syngenta introduced and marketed in the United States;

         WHEREAS, there are actions similar to the MDL Actions pending in other courts,

including, without limitation, in the Fourth Judicial District Court, County of Hennepin, State of

Minnesota, styled In re Syngenta Class Action Litigation, Court File No. 27-CV-15-12625 and In

re Syngenta Litigation, Court File No. 27-CV-15-3785, in the United States District Court for the

Southern District of Illinois, styled In re Syngenta Actions, No. 3:15-cv-01221 and No. 3:16-cv-

01379, and in the Circuit Court of the First Judicial Circuit, Williamson County, Illinois, styled In

re Syngenta Litigation, No. 15-L-157 (collectively, and with other actions as set forth in Exhibit

1, and similar actions, the “Related Actions”);

         WHEREAS, Representative Plaintiffs allege on behalf of themselves and Class Members

that Syngenta prematurely commercialized and otherwise inappropriately marketed and sold



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Agrisure Viptera and/or Agrisure Duracade Corn Seed, causing contamination of the United States

Corn supply and significant disruption to the export of United States Corn and Corn products, and

that the Representative Plaintiffs and the Class Members were harmed by the conduct alleged in

the Complaint;

       WHEREAS, Syngenta denies any and all Claims and has asserted various defenses that it

believes are meritorious;

       WHEREAS, the Parties agree that this Agreement shall not be deemed or construed as an

admission or as evidence of any violation of any statute or law, or of any liability or wrongdoing

by any of the Released Parties, or of the merit of any of the Claims or allegations alleged in the

MDL Actions, the Related Actions, or otherwise, or the merit of any of the potential or asserted

defenses to those allegations, or as a waiver of any such defenses;

       WHEREAS, the Parties have conducted a thorough examination and investigation of the

facts and law relating to the asserted and potential Claims and defenses and the alleged harm

caused by Syngenta’s marketing and sale of Agrisure Viptera and/or Agrisure Duracade Corn Seed

and assessed the various risks of future litigation including risks from any future appeals in the

MDL Actions and the Related Actions;

       WHEREAS, settlement discussions began in 2016 in mediation sessions conducted by the

Special Masters, including several months of extensive, arm’s-length, adversarial, and, at times,

contentious negotiations; ultimately, through an extended series of mediation and negotiation

sessions, the Parties reached a settlement pursuant to this Agreement (the “Settlement”);

       WHEREAS, Settlement Class Counsel and Subclass Counsel, under the supervision of the

Special Masters, conducted extensive, arm’s length, adversarial, and, at times, contentious

negotiations; ultimately, through an extended series of negotiation sessions, Settlement Class




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Counsel and Subclass Counsel reached a settlement pursuant to this Agreement to allocate the

settlement proceeds between the Subclasses as set forth in this Agreement.

        WHEREAS, Settlement Class Counsel, Subclass Counsel, and Plaintiffs’ Negotiating

Committee have concluded, after extensive factual examination and investigation and after careful

consideration of the circumstances, including the Claims asserted in the Complaint and in the

Related Actions, and the possible legal and factual defenses thereto, that it would be in the Class

Members’ best interests to enter into this Agreement to avoid the uncertainties, burdens, risks, and

delays inherent in litigation and subsequent appeals and to assure that the substantial benefits

reflected in this Agreement are obtained for Class Members in an expeditious manner; and, further,

that this Agreement is fair, reasonable, adequate, and in the best interests of the Representative

Plaintiffs and the Class Members;

        WHEREAS, Syngenta, despite its belief that it has strong defenses to the Claims described

in this Agreement, and in the interests of its ongoing business in the Corn industry in the United

States, has agreed to enter into this Agreement to reduce and avoid the further expense, burden,

risks, and inconvenience of protracted litigation and subsequent appeals and to resolve finally and

completely Representative Plaintiffs’ and other Class Members’ Claims;

        NOW, THEREFORE, the Parties agree that the MDL Actions, as well as related actions

pending in other jurisdictions, filed by Class Members, shall be settled, compromised, and/or

dismissed with prejudice on the terms and conditions set forth in this Agreement, without expenses

to Syngenta (except as provided in this Agreement), subject to the Court’s approval of this

Agreement as a fair, reasonable, and adequate settlement under Fed. R. Civ. P. 23(e).

1.      CLASS DEFINITION

        The Parties agree and consent, for settlement purposes only, to the certification of the




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following settlement class and settlement subclasses under Fed. R. Civ. P. 23(b)(3) (the

“Settlement Class”):

               Settlement Class: Any Person in the United States that during the Class Period

owned any Interest in Corn in the United States priced for sale during the Class Period and falls

into one of the four sub-classes set forth in Section 1.2 below.

               Settlement Subclasses:

               1.2.1   Subclass 1: Any Producer in the United States that during the Class Period

                       owned any Interest in Corn in the United States priced for sale during the

                       Class Period, excluding Producers that, at any time prior to the end of the

                       Class Period, purchased Agrisure Viptera and/or Agrisure Duracade Corn

                       Seed and produced Corn grown from Agrisure Viptera and/or Agrisure

                       Duracade Corn Seed.

               1.2.2   Subclass 2: Any Producer in the United States that during the Class Period

                       owned any Interest in Corn in the United States priced for sale during the

                       Class Period and that, at any time prior to the end of the Class Period,

                       purchased Agrisure Viptera and/or Agrisure Duracade Corn Seed and

                       produced Corn grown from Agrisure Viptera and/or Agrisure Duracade

                       Corn Seed.

               1.2.3   Subclass 3: Any Grain Handling Facility in the United States that during

                       the Class Period owned any Interest in Corn in the United States priced for

                       sale during the Class Period.

               1.2.4   Subclass 4: Any Ethanol Production Facility in the United States that

                       during the Class Period owned any Interest in Corn in the United States




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                       priced for sale during the Class Period.

                Excluded from the Settlement Class are the following: (a) the Court and its officers,

employees, appointees, and relatives; (b) Syngenta and its affiliates, subsidiaries, officers,

directors, employees, contractors, agents, and representatives; (c) all plaintiffs’ counsel in the

MDL Actions or the Related Actions; (d) government entities; (e) Opt-Outs; and (f) the Excluded

Exporters.

2.      OTHER DEFINITIONS

        As used in this Agreement and its exhibits, the following terms shall have the meanings set

forth below. Terms used in the singular shall include the plural and vice versa.

                “Agreement” means this Agrisure Viptera/Duracade Class Settlement Agreement,

together with the exhibits attached to this Agreement, which are incorporated in this Agreement

by reference.

                “Agrisure Viptera and/or Agrisure Duracade Corn Seed” means Corn seed

containing Syngenta events MIR162 and/or Event 5307.

                “Allocation Methodology” means the method of determining and calculating a

Compensable Recovery Quantity relating to a Settlement Claim, authenticating Settlement Claims,

allocating Gross Settlement Proceeds among the Class Members, and the timing and method of

Settlement Fund distributions as set forth in Section 3.7.2.

                “CAFA Notice” means the notice of this Settlement to be served by Syngenta upon

state and federal regulatory authorities as required by Section 3 of the Class Action Fairness Act

of 2005, 28 U.S.C. § 1715.

                “Claim” means all claims made, or which could have been made, by any Person

against any of the Released Parties arising out of Syngenta’s commercialization of Agrisure




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Viptera and/or Agrisure Duracade Corn Seed.

              “Claim Form” shall mean an electronic or paper document containing the

information and fields substantially in the form set forth in the “Producer Claim Form,” “Grain

Handling Facility Claim Form,” and “Ethanol Production Facility Claim Form” set forth in Exhibit

2. The Claim Form shall be submitted under penalty of perjury, based on the Class Members’

knowledge, information, and belief, to the Claims Administrator by a Class Member submitting a

Settlement Claim under this Agreement.

              “Claims Administrator” means BrownGreer PLC. In the event that the Claims

Administrator can no longer serve for any reason, Settlement Class Counsel and Syngenta shall

jointly select a new Claims Administrator. In no event shall the Claims Administrator be a Person

other than one agreed upon by Settlement Class Counsel and Syngenta.

              “Claims Administrator’s Final Report” means the Claims Administrator’s final

report to Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating Committee,

Syngenta, the Special Masters, and the Court, reporting (1) the total number of Class Members

that properly and timely made a Settlement Claim for compensation in connection with this

Agreement; (2) the identity of each such Class Member; and (3) each such Class Member’s

Compensable Recovery Quantity, if any, for each of Marketing Years 2013-17.

              “Claims Administrator’s Preliminary Report” means the Claims Administrator’s

preliminary report to Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating

Committee, Syngenta, the Special Masters, and the Court reporting (1) the total number of Class

Members that properly and timely made a Settlement Claim to apply for compensation in

connection with this Agreement; (2) the identity of each such Class Member; and (3) each such

Class Member’s Compensable Recovery Quantity, if any, for each of Marketing Years 2013-17.




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                “Claims Deadline” means the final date to submit a Claim Form, which is 150 days

after Settlement Class Counsel first publish the Class Notice to the Settlement Class pursuant to

the Notice Plan.

                “Class Member” means a member of the Settlement Class.

                “Class Notice” means notice to the Class Members of this Agreement substantially

in the form and following the procedures described in the Notice Plan and established by order of

the Court and to be administered by Settlement Class Counsel under the direction and jurisdiction

of the Court.

                “Class Period” means September 15, 2013 through the date of the Preliminary

Approval Order.

                “Class Releasors” means all Class Members, as well as their successors, heirs,

executors, trustees, administrators, assigns, predecessors, affiliates, related companies, subsidiary

companies, holding companies, insurers, affiliates, current and former attorneys, and their current

and former members, partners, officers, directors, agents, and employees, all in their capacity as

such. Opt-Outs and Persons specifically excluded from this Settlement as set forth in Section 1.3

above are not Class Releasors

                “Compensable Recovery Quantity” means:

                2.15.1 For Class Members that are Producers: a Corn bushel for which a Producer

                       Class Member is entitled to make a recovery under the Allocation

                       Methodology. A Producer’s Compensable Recovery Quantity shall be

                       determined as follows:

                       2.15.1.1       For any acreage reported to USDA for Form FSA 578

                                purposes, Form FSA 578 shall be the exclusive manner in which




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                      acreage is determined.      The Claims Administrator shall first

                      determine the number of Corn acres reported on the Producer’s

                      Form FSA 578 in each Marketing Year, exclusive of acres reported

                      as failed or for sileage, which shall be multiplied by the Producer’s

                      share in those acres as reported on the Form FSA 578. The Claims

                      Administrator shall then convert the Producer’s acreage in each

                      Marketing Year to bushels by (a) multiplying the Producer’s acreage

                      by the average county yield as reported by USDA NASS (or if no

                      county yield is reported, the nearest average yield available as

                      determined by the Claims Administrator); (b) deducting the

                      percentage of bushels reported as “fed on farm” as reported on the

                      Producer’s Claim Form; (c) multiplying the resulting bushels in

                      each Marketing Year according to a weighted average; and (d)

                      summing the resulting bushels.

               2.15.1.2      For any acreage not reported to USDA for Form FSA 578

                      purposes, but for which RMA Data is available, RMA Data shall be

                      the exclusive manner in which acreage is determined. For this

                      acreage, Compensable Recovery Quantity shall be determined in the

                      same manner as that stated above except using RMA Data instead

                      of Form FSA 578 data.

               2.15.1.3      For any acreage not reported to USDA for Form FSA 578

                      purposes and for which RMA Data is not available (including

                      Claims by landlords whose Interest is not reflected in Form FSA 578




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                       or RMA Data), Compensable Recovery Quantity shall be

                       determined in the same manner as that stated above, except using

                       information reported on the Claim Form.

                2.15.1.4      To the extent that a conflict arises because one or more

                       landlords and one or more farmers submit Claims Forms for the

                       same acreage, the Claims Administrator shall allocate to each Class

                       Member a percentage of the Compensable Recovery Quantity for

                       that acreage such that the total percentage equals 100%. Any

                       disputes over that allocation determination shall be resolved by the

                       Special Masters pursuant to Section 9.18.3.

         2.15.2 For Class Members that are Grain Handling Facilities: a Corn bushel for

                which a Grain Handling Facility Class Member is entitled to make a

                recovery under the Allocation Methodology. A Grain Handling Facility’s

                Compensable Recovery Quantity shall be determined as follows:

                2.15.2.1      The Claims Administrator shall (a) determine the number of

                       Corn bushels reported as sold on the Grain Handling Facility’s

                       Claim Form in each Marketing Year; (b) multiplying the resulting

                       bushels in each Marketing Year according to a weighted average;

                       and (c) summing the resulting bushels.

         2.15.3 For Class Members that are Ethanol Production Facilities: a short ton of

                DDGs for which an Ethanol Production Facility Class Member is entitled

                to make a recovery under the Allocation Methodology.          An Ethanol




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                      Production Facility’s Compensable Recovery Quantity shall be determined

                      as follows:

                      2.15.3.1        The Claims Administrator shall (a) determine the number of

                              short tons of DDGs reported as sold on the Ethanol Production

                              Facility’s Claim Form in each Marketing Year; (b) multiplying the

                              resulting short tons in each Marketing Year according to a weighted

                              average; and (c) summing the resulting short tons.

               “Complaint” means the Third Amended Class Action Master Complaint, filed as

ECF No. 2531 on the MDL No. 2591 master docket, and any amendments of that document from

the time of execution of this Agreement up to and including the time the Parties submit this

Agreement to the Court pursuant to Section 3.2, including a Fourth Amended Class Action Master

Complaint, which Settlement Class Counsel shall seek leave from the Court to file and which shall

be attached as an exhibit to the Motion for Preliminary Approval.

               “Corn” means Corn produced in the United States, and/or DDGs resulting from that

Corn, priced for sale after September 15, 2013.

               “Court” and “MDL Court” mean the Honorable John W. Lungstrum, or if he is

unavailable, another judge of the United States District Court for the District of Kansas presiding

over In re Syngenta AG MIR 162 Corn Litigation, MDL No. 2591.

               “DDGs” means Dried Distillers Grains produced by Ethanol Production Facilities

as a byproduct of ethanol production and priced for sale after September 15, 2013.

               “Escrow Account” means the escrow account to be established by orders of the

Court and to be administered by the Claims Administrator under the direction and jurisdiction of

the Court to hold the Gross Settlement Proceeds. The Parties shall move the Court to establish the




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Escrow Account as a “Qualified Settlement Fund” within the requirements of Treas. Reg. §

1.468(B)-1(c), and the Parties shall for all purposes treat the Escrow Account as a Qualified

Settlement Fund established and operated in accordance with the requirements and purposes of

that regulation.

                “Ethanol Production Facility” means all ethanol plants, biorefineries, or other

entities in the United States that during the Class Period produced or purchased DDGs in the United

States and priced those DDGs for sale.

                “Excluded Exporter” means Archer Daniels Midland Company, Bunge North

America, Inc., Cargill, Incorporated, Cargill, International SA, Louis Dreyfus Company, BV,

Louis Dreyfus Company, LLC, Louis Dreyfus Company Grains Merchandising, LLC, Gavilon

Grain, LLC, Trans Coastal Supply Company, Inc., Agribase International Inc., or the Delong Co.

Inc., and their respective parent(s) and each of their predecessors, affiliates, assigns, successors,

related companies, subsidiary companies, holding companies, insurers, reinsurers, current and

former attorneys, and their current and former members, partners, officers, directors, agents, and

employees, in their capacity as such, any licensees, distributors, retailers, seed dealers, seed

advisors, other resellers, and their insurers, and affiliates, in their capacity as such. Excluded

Exporter does not include, however, any Grain Handling Facilities or Ethanol Production Facilities

except those operated, owned (in whole or in part, directly or indirectly), or administered by one

of the entities specifically listed in this paragraph.

                “Execution Date” means the date on which this Agreement is fully executed by the

Parties.

                “Fairness Hearing” means the hearing conducted by the Court in connection with

determining the fairness, adequacy, and reasonableness of this Agreement under Fed. R. Civ. P.




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23(e). The date of the Fairness Hearing shall be communicated to Class Members in the Class

Notice.

                “Fee and Expense Applications” means the applications by Settlement Class

Counsel and other counsel representing Class Members for the award of attorneys’ fees, costs, and

expenses to Settlement Class Counsel and other counsel who performed work for the benefit of

Class Members and service awards to the Representative Plaintiffs as set forth in Section 7.2 of

this Agreement.

                “Fee and Expense Award” means an order of the Court, entered in consultation with

and approved by the Honorable David R. Herndon of the United States District Court for the

Southern District of Illinois and the Honorable Laurie J. Miller of the Fourth Judicial District

Court, County of Hennepin, State of Minnesota, granting, in whole or in part, the Fee and Expense

Applications.

                “Final” with respect to this Agreement means one of the following conditions has

occurred: (1) if no timely appeal of the Final Approval Order by the Court is taken, then upon

expiration of the time for any Class Member to appeal the Final Approval Order; or, (2) if there

are any timely appeals of the Final Approval Order, then (i) all appellate courts with jurisdiction

affirm the Final Approval Order or (ii) the appeal is dismissed or denied such that the Final

Approval Order is no longer subject to further appeal.

                “Final Approval” means the Court’s issuance of an order and judgment granting

final approval of this Agreement pursuant to Fed. R. Civ. P. 23(e), such order and judgment

granting final approval of this Agreement to be termed the Court’s “Final Approval Order.” Final

Approval and the Final Approval Order need not include the Fee and Expense Award.

                “Final Effective Date” means the date upon which the Final Approval Order




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approving this Agreement becomes Final.

               “FSA” means the U.S.D.A.’s Farm Service Agency.

               “Grain Handling Facility” means all grain elevators, grain distributors, grain

transporters, or any other entities in the United States that during the Class Period (i) purchased

Corn and then priced Corn in the United States for sale during the Class Period; and/or (ii) that

purchased Corn and then transported, stored or otherwise handled Corn that was priced for sale

during the Class Period.

                “Gross Settlement Proceeds” means One Billion Five Hundred and Ten Million

U.S. Dollars ($1,510,000,000.00).      The Gross Settlement Proceeds shall include, without

limitation, any attorneys’ fees or expenses awarded including but not limited to attorneys’ fees or

expenses awarded pursuant to the Fee and Expense Applications, as well as the held and

unreimbursed expenses incurred by the Special Masters through the date of this Agreement, as

contemplated by the orders appointing the Special Masters, as well as the fees and expenses of the

Claims Administrator, Notice Administrator, and the Special Masters in connection with this

Agreement for time expended after September 25, 2017.            Syngenta shall not, under any

circumstances, be responsible for, or liable for, payment of any amount under this Agreement in

excess of One Billion Five Hundred Ten Million U.S. Dollars ($1,510,000,000.00).

               “Handwritten Signature” means the actual signature by the person whose signature

is required on the document. Unless otherwise specified in this Agreement, a document requiring

a Handwritten Signature may be submitted by an actual original “wet ink” signature on hard copy,

or a PDF or other electronic image of an actual signature, but cannot be submitted by an electronic

signature within the meaning of the Electronic Records and Signatures in Commerce Act, 15

U.S.C. §§ 7001, et seq., the Uniform Electronic Transactions Act, or their successor acts.




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                (a) “Interest,” when used in connection with a Producer’s acreage or a Producer’s

Compensable Recovery Quantity, means (i) the Producer’s financial interest as reflected on a Form

FSA 578 for Corn acreage covered by such form or, in the alternative, and only if a Producer’s

Corn acreage is not reported on a Form FSA 578 (ii) the Producer’s financial interest as reported

on USDA Risk Management Agency (“RMA”) forms related to crop insurance applications, or, in

the alternative, and only if a Producer’s Corn acreage is not reported on a Form FSA 578 or RMA

Form, (iii) a financial interest in the Corn, as reflected by other proof including, without limitation,

variable rent payable to a landlord or other Person based on a share of the Corn crop or proceeds

from the sale of Corn. However, any landlord or other Person that receives only a fixed cash

amount for renting the land that did not vary with the type, size of, or pricing for the Corn crop

does not have an Interest in Corn. To the extent that a conflict arises between an Interest reflected

on a Form FSA 578 and a claim for Corn not reported on a Form FSA 578, the Interest reflected

by the Form FSA 578 shall control.

        (b) “Interest,” when used in connection with a Grain Handling Facility’s Compensable

Recovery Quantity, means the quantity of Corn handled by the Grain Handling Facility, otherwise

known as the throughput.

        (c)   “Interest,” when used in connection with an Ethanol Production Facility’s

Compensable Recovery Quantity, means the quantity of short tons of DDGs priced for sale by an

Ethanol Production Facility.

                “Long-Form Notice” means the long-form notice to Class Members of this

Agreement to be submitted to the Court for approval and, once approved by the Court, to be

disseminated to Class Members pursuant to the Notice Plan. The Long Form Notice shall be in

substantially the form of the proposed Long-Form Notice attached as Exhibit 3.




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               “Marketing Year” means from September 1st to August 31st. For example,

Marketing Year 2013 refers to the period from September 1, 2013 to August 31, 2014.

               “MDL Co-Lead Counsel” and “Litigation Class Counsel” means William B.

Chaney, Don M. Downing, Scott A. Powell, and Patrick J. Stueve.

               “Minnesota Co-Lead Litigation Class Counsel” means Daniel E. Gustafson and

William R. Sieben.

               “Minnesota Co-Lead Litigation Counsel for Individual Plaintiffs” means Frank

Guerra, IV and Lewis A. Remele, Jr.

               “Motion for Preliminary Approval” means the motion or motions filed by the

Parties pursuant to Fed. R. Civ. P. 23(e) to preliminarily approve this Settlement.

               “Non-Producer” means any Person that is an Ethanol Production Facility or Grain

Handling Facility in the United States during the Class Period.

               “Notice Administrator” means BrownGreer PLC.              In the event the Notice

Administrator can no longer serve for any reason, Settlement Class Counsel and Syngenta shall

jointly select a new Notice Administrator. In no event shall the Notice Administrator be a Person

other than one agreed upon by Settlement Class Counsel and Syngenta.

               “Notice Plan” means the plan to be approved by the Court for providing Class

Notice to the Settlement Class in accordance with Fed. R. Civ. P. 23(e). The Notice Plan shall be

in substantially the form of the proposed Notice Plan as set forth in Exhibit 4.

               “Opt-Out” means any Class Member that timely and properly submits a request for

exclusion from the Settlement Class in accordance with the procedures set forth in this Agreement

and approved by the Court and did not timely and properly revoke its request.

               “Opt-Out Deadline” is the last date on which a Class Member may properly and




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timely request to be excluded from the Settlement Class as set forth in the table in Section 4.6.

               “Opt-Out List” means a list compiled by the Claims Administrator of all properly

and timely Opt-Outs to be provided to Settlement Class Counsel, Subclass Counsel, Plaintiffs’

Negotiating Committee, and Syngenta within thirty (30) days of the Opt-Out Deadline.

               “Person” means a natural person, corporation, limited liability company, other

company, trust, joint venture, association, partnership, or other enterprise or entity, or the legal

representative of any of the foregoing.

               “Plaintiffs’ Negotiating Committee” means Clayton A. Clark, Daniel E. Gustafson,

Christopher A. Seeger, and Mikal C. Watts.

               “Preliminary Approval Order” means the order entered by the Court preliminarily

approving the Settlement, conditionally (i.e., provisionally) certifying the Settlement Class and

Subclasses, appointing Settlement Class Counsel and Subclass Counsel, approving the Allocation

Methodology, approving the Notice Plan, appointing the Special Masters, appointing the Notice

Administrator, appointing the Claims Administrator, and setting a schedule for the Final Approval

process.

               “Producer” means any Person that has an Interest in Corn produced in the United

States that was priced for sale during the Class Period, including any owner, operator, landlord,

waterlord, tenant, or sharecropper who shares in the risk of producing Corn and who is entitled to

share in the Corn crop available for marketing during the Class Period. A landlord who receives

a variable rent payable based on a share of the Corn crop or proceeds from the sale of Corn is a

Producer. A landlord who receives only a fixed cash amount for renting the land that did not vary

with the size of, or pricing for, the Corn crop is not a Producer.

               “Production Capacity” means the total annual production capability in million-




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gallons (MMgal) of ethanol of an Ethanol Production Facility.

                “Publication Notice” means the part of the Notice Plan that includes a summary

form of electronic and/or print notice of the proposed Settlement to be published in certain hard

copy or electronic formats directed at Class Members, subject to approval of the Court, and

substantially in the form attached to this Agreement as Exhibit 5.

                “Released Claims” means any and all Claims released by this Agreement as set

forth in Section 6.

                “Released Parties” means Syngenta, along with its parent(s) and each of its

predecessors, affiliates, assigns, successors, related companies, subsidiary companies, holding

companies, insurers, reinsurers, current and former attorneys, and their current and former

members, partners, officers, directors, agents, and employees, in their capacity as such, any

licensees, distributors, retailers, seed dealers, seed advisors, other resellers, and their insurers, and

affiliates, in their capacity as such. Released Parties include, but are not limited to, the Persons

listed on Exhibit 6. The Special Masters shall also be included among the Released Parties. The

Excluded Exporters are not Released Parties.

                “Representative Plaintiffs” means collectively Mike DaVault, Bradley DaVault,

and David DaVault d/b/a DaVault ArkMo Farms (Subclass 1), Steven A. Wentworth (Subclass 1),

Charles B. Lex (Subclass 1), Five Star Farms (Subclass 1), Grafel entities (Beaver Creek Farms,

Inc., Demmer Farms, Inc., Grafel Farms, LLC, and D. and S. Grain & Cattle Co.) (Subclass 1),

David Polifka (Subclass 1), David Polifka Revocable Living Trust (Subclass 1), Bottoms Farms

Partnership (Subclass 1), JPPL, Inc. (Subclass 1), NEBCO, Inc. (Subclass 1), TRIPLE BG

Partnership (Subclass 1), David Schwaninger (Subclass 1), Kaffenbarger Farms, Inc. (Subclass 1),

Bieber Farm (Subclass 1), Rolling Ridge Ranch, LLC (Subclass 1), Grant Annexstad (Subclass 1),




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Roger Ward (Subclass 1), Leroy Edlund (Subclass 1), Charles Cobb (CE Cobb Farms) (Subclass

2), Robert & Todd Niemeyer (Custom Farm Services LLC) (Subclass 2), Marvin Miller (Subclass

2), Kruseman Fertilizer Company (Subclass 3), and Al-Corn Clean Fuel, LLC (Subclass 4).

              “RMA Data” means data collected by various insurance entities related to crop

insurance and submitted to the USDA or other government entity.

              “Settlement Claim” means a claim made by a Class Member under this Agreement.

              “Settlement Class Counsel” means, subject to Court approval, Daniel E. Gustafson,

Christopher A. Seeger, and Patrick J. Stueve.

              2.58.1 “Viptera / Duracade Subclass Counsel” means, subject to Court approval,

                      Lynn R. Johnson who is counsel for Subclass 2.

              2.58.2 “Grain Handling Facility Subclass Counsel” means, subject to Court

                      approval, Kenneth A. Wexler who is counsel for Subclass 3.

              2.58.3 “Ethanol Production Facility Subclass Counsel” means, subject to Court

                      approval, James E. Cecchi who is counsel for Subclass 4.

              “Settlement Fund” means the Gross Settlement Proceeds deposited into the Escrow

Account.

              “Settlement Process” means the process set forth in this Agreement for the

submission and evaluation of Claim Forms and the allocation of payments from the Settlement

Fund to Class Members.

              “Settlement Website” means the website under the Uniform Resource Locator

(URL) www.CornSeedSettlement.com, which is established and maintained by Settlement Class

Counsel through the Claims Administrator, as directed by the Preliminary Approval Order

approved by the Court.




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                “Signature” means the actual signature by the person whose signature is required

on the document. Unless otherwise specified in this Agreement, a document requiring a Signature

may be submitted by: (i) an actual original “wet ink” signature on hard copy; (ii) a PDF or other

electronic image of an actual signature; or (iii) an electronic signature within the meaning of the

Electronic Records and Signatures in Commerce Act, 15 U.S.C. §§ 7001, et seq., the Uniform

Electronic Transactions Act, or their successor acts.

                “Special Masters” mean Ellen K. Reisman and Hon. Daniel Stack (ret.).

                “Storage Capacity” means the number of Corn bushels that can be stored or

transported in existing cars, trucks, bins, elevators, and similar structures owned or operated by a

Grain Handling Facility.

                “Syngenta” means Syngenta AG, Syngenta Corporation, Syngenta Crop Protection

AG, Syngenta Crop Protection LLC., and Syngenta Seeds, LLC (f/k/a Syngenta Seeds, Inc.),

collectively with all of their affiliates and predecessor and successor entities.

                 “United States” means the fifty (50) federated states, the District of Columbia, and

all U.S. Territories.

                 “USDA” means the United States Department of Agriculture.

3.      SETTLEMENT TERMS

                Commitment to Support Agreement

                3.1.1   The Parties agree that it is in the Class Members’ and their best interests to

                        consummate this Agreement and to cooperate with each other and to take

                        all actions reasonably necessary to obtain Court approval of this Agreement

                        and entry of the orders of the Court and other courts that are required to

                        implement its provisions. The Parties also agree to support this Agreement




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                 in accordance with and subject to the provisions of this Agreement.

         Preliminary Approval of Settlement

         3.2.1   Settlement Class Counsel shall file a Motion for Preliminary Approval and

                 a motion for the conditional (i.e., provisional) certification of the Settlement

                 Class with the Court within fourteen (14) days after the Execution Date.

         Notice to Putative Class Members

         3.3.1   After the Court has entered the Preliminary Approval Order, notice to Class

                 Members shall be disseminated in such form and manner as the Court shall

                 direct. Instructions to access the Settlement Website and electronically

                 submit the applicable Claim Form(s) shall be included with the copy of the

                 Class Notice disseminated to putative Class Members and posted on the

                 Settlement Website. A hard copy of the applicable Claim Form(s) shall be

                 made available upon request by the Claims Administrator.

         3.3.2   Settlement Class Counsel and the Notice Administrator shall be responsible

                 for identifying names and addresses of Class Members. Subclass Counsel

                 and Plaintiffs’ Negotiating Committee shall provide identifying names and

                 addresses of Class Members they represent.

         Cost of Notice

         3.4.1   All costs in connection with implementing the Notice Plan shall be paid

                 from the Settlement Fund; and, once paid shall not be refundable in the

                 event that the Settlement does not become Final, provided, that Syngenta

                 shall be entitled to a refund of any advancement of notice costs that are

                 unused, if any.




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         Limited Certification of Settlement Class Only

         3.5.1   Syngenta conditionally agrees and consents to certification of the

                 Settlement Class and related Subclasses for settlement purposes only, and

                 within the context of this Agreement only. The Parties’ willingness to enter

                 into this Agreement is not an admission as to the propriety or impropriety

                 of any litigation class in this or any other litigation. Except as to the

                 particular Settlement Class and related Subclasses defined in this

                 Agreement, and for the limited purposes of this Agreement, no Party or

                 other litigant shall use any Party’s consent to this Agreement as the basis

                 for arguing that any litigation class in this matter may or may not be

                 certified.

         Agreement Not Admissible

         3.6.1   Except as set forth in Section 9.12, neither this Agreement nor any

                 statement, transaction, or proceeding in connection with the negotiation,

                 execution, or implementation of this Agreement is intended to be or may be

                 construed as or deemed to be evidence of an admission or concession by

                 Syngenta of any (i) liability or wrongdoing or of the truth of any allegations

                 in the Complaint against Syngenta, or (ii) infirmity of, or strength of any

                 alleged defense against, the allegations in the Complaint; and neither this

                 Agreement nor any statement, transaction, or proceeding in connection with

                 the negotiation, execution, or implementation of this Agreement shall be

                 admissible in evidence for any such purpose in any proceeding. The Parties’

                 consent to this Settlement is contingent upon this Agreement becoming




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                 Final. If this Agreement, for any reason, does not become Final or is

                 otherwise terminated, the Parties reserve their respective rights to reassert

                 all of their claims, allegations, objections, and defenses to certification of

                 any class for litigation purposes, and the Parties further agree that none of

                 them shall offer this Agreement, nor any statement, transaction, or

                 proceeding    in   connection     with    the   negotiation,   execution,    or

                 implementation of this Agreement, as evidence in support of or opposition

                 to a motion to certify any litigation class or for any other litigation purpose.

         Terms of Recovery/Consideration for Settlement Process

         3.7.1   Escrow Account and Settlement Fund

                 3.7.1.1 In full and final settlement of the Released Claims of Class

                        Members, Syngenta agrees to fund the Gross Settlement Proceeds

                        into the Escrow Account. Upon the Final Effective Date of this

                        Agreement, Syngenta shall have no right of reversion in the Gross

                        Settlement Proceeds. In the event, however, that this Agreement,

                        for any reason, does not become Final, that there is no Final

                        Effective Date, or this Agreement is otherwise terminated, Syngenta

                        shall be entitled to a refund of the portion of the Gross Settlement

                        Proceeds that it has deposited into the Escrow Account, minus any

                        amounts that have then been incurred for the fees and expenses of

                        the Claims Administrator and the Notice Administrator, as well as

                        unreimbursed expenses of the Special Masters.

                 3.7.1.2 Within thirty (30) days after this Agreement has been fully executed,




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                      Syngenta shall deposit Two Hundred Million U.S. Dollars

                      ($200,000,000) of the Gross Settlement Proceeds into the Escrow

                      Account, a portion of which shall be used to pay the fees and

                      expenses of the Claims Administrator and the Notice Administrator,

                      as well as the Class Notice as approved by the Court.

               3.7.1.3 Before March 31, 2018, Syngenta shall deposit an additional Two

                      Hundred Million U.S. Dollars ($200,000,000) of the Gross

                      Settlement Proceeds into the Escrow Account.

               3.7.1.4 Beginning with the quarter ending March 31, 2018 and until this

                      Agreement is terminated or until Syngenta has fully deposited the

                      Gross Settlement Proceeds into the Escrow Account, Syngenta shall

                      produce, on request, copies of quarterly financial statements, in the

                      form of interim consolidated financial statements, prepared in the

                      ordinary course of business to Settlement Class Counsel, Subclass

                      Counsel, and Plaintiffs’ Negotiating Committee. Such financial

                      statements shall not be disclosed to anyone other than Settlement

                      Class Counsel, Subclass Counsel, and Plaintiffs’ Negotiating

                      Committee.

               3.7.1.5 Within thirty (30) days after the entry of the Final Approval Order

                      or April 1, 2019, whichever is later, Syngenta shall deposit the

                      remainder of the Gross Settlement Proceeds into the Escrow

                      Account.

               3.7.1.6 Syngenta’s deposits of the Gross Settlement Proceeds into the




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                        Escrow Account shall constitute the Settlement Fund and the

                        Settlement Fund shall be used for purposes of meeting the

                        obligations under this Agreement.

                 3.7.1.7 Syngenta’s payment of the Gross Settlement Proceeds shall relieve

                        Syngenta of any liability with respect to the authentication of

                        Settlement Claims, the allocation of the Gross Settlement Proceeds

                        among the Class Members and the timing and method of Settlement

                        Fund distributions.

                 3.7.1.8 No portion of the Gross Settlement Proceeds shall be distributed

                        from the Escrow Account prior to the Final Effective Date with the

                        exception of the fees and expenses of the Claims Administrator, the

                        Notice Administrator, and the Special Masters.

         3.7.2   Allocation Methodology

                 3.7.2.1 Payments of settlement compensation to Class Members and the

                        relevant Subclasses shall be made from the Settlement Fund and in

                        accordance with the following Allocation Methodology:

                        (a)    All costs of Settlement administration (including, but not

                        limited to, costs related to Class Notice, the fees and expenses of the

                        Claims Administrator, Notice Administrator, and the Special

                        Masters), as approved by the Court, and the Fee and Expense Award

                        and unreimbursed Special Master expenses, as approved in orders

                        issued by the Court, shall be deducted from the Settlement Fund;




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                     (b)   The remainder of the Settlement Fund shall be distributed to

                     Class Members as follows:

                           (i)     To the members of Subclass 2 (Producers who

                           purchased and planted Agrisure Viptera and/or Agrisure

                           Duracade Corn Seed): on a pro rata basis based on each

                           Class Member’s approved Compensable Recovery Quantity.

                           The total amount of the Settlement Fund available to

                           members of Subclass 2 shall be capped at Twenty Two

                           Million Six Hundred Thousand U.S. Dollars ($22,600,000)

                           or at a number below Twenty Two Million Six Hundred

                           Thousand U.S. Dollars ($22,600,000) that ensures that the

                           average per-bushel recovery of Subclass 2 shall not exceed

                           the average per-bushel recovery of the members of Subclass

                           1.

                           (ii)    To the members of Subclass 3 (Grain Handling

                           Facilities): on a pro rata basis based on each Class Member’s

                           approved Compensable Recovery Quantity.           The total

                           amount of the Settlement Fund available to members of

                           Subclass 3 shall be Twenty Nine Million Nine Hundred

                           Thousand U.S. Dollars ($29,900,000).

                           (iii)   To the members of Subclass 4 (Ethanol Production

                           Facilities): on a pro rata basis based on each Class Member’s

                           approved Compensable Recovery Quantity.           The total




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                              amount of the Settlement Fund available to members of

                              Subclass 4 shall be Nineteen Million Five Hundred

                              Thousand U.S. Dollars ($19,500,000).

                              (iv)    To the members of Subclass 1 (Producers who did

                              not purchase and plant Agrisure Viptera and/or Agrisure

                              Duracade Corn Seed): on a pro rata basis based on each

                              Class Member’s approved Compensable Recovery Quantity.

                              The total amount of the Settlement Fund available to

                              members of Subclass 1 shall be the remaining Settlement

                              Funds after deduction of the amounts set forth in Section

                              3.7.2.1(a) and (b)(i)-(iii).

         3.7.3   Recovery for Class Members

                 3.7.3.1 Class Members who are Producers must submit a Producer Claim

                       Form, under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

                       information provided is true and correct to the best of the Class

                       Members’ knowledge, information, and belief. The Producer Claim

                       Form shall include a release bearing the Producer’s Signature, which

                       authorizes the U.S. Government to disclose Form FSA 578 data and

                       RMA Data to the Claims Administrator for the 2013-2017

                       Marketing Years, and such government data shall be the exclusive

                       manner in which a Producer may document an Interest in acreage,

                       unless no Form FSA 578 data (or RMA Data if no Form FSA 578

                       data exists) exists. If no Form FSA 578 data (or RMA Data if no




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                      Form FSA 578 data exists) exists for a particular farm or farms,

                      Class Members that are Producers must complete and submit an

                      additional section of the Claim Form providing information that

                      mirrors the information contained on Form FSA 578 and also

                      declaring that no Form FSA 578 or RMA Data exists with respect

                      to that acreage. Class Members who are Producers and who fail to

                      submit signed releases authorizing the government to disclose Form

                      FSA 578 data (or RMA Data) to the Class Administrator or, for

                      Producers for whom no Form FSA 578 data (or RMA Data) exist,

                      or who otherwise fail to properly complete the Claim Form(s), shall

                      have such Claim Form(s) rejected and returned for resubmission

                      under the procedures established and agreed to by the Parties and

                      the Claims Administrator and approved by the Court. All disputes

                      over the adequacy or timeliness of the Claim Forms, whether based

                      on an initial submission or resubmission pursuant to Section 3.7.3.3,

                      shall first be decided by the Claims Administrator.          Anyone

                      aggrieved by the decision of the Claims Administrator may appeal

                      that decision to the Special Masters under procedures to be

                      established and agreed to by the Parties for such appeals, provided

                      that the Special Masters’ decision shall be final, non-appealable, and

                      not subject to further review.

               3.7.3.2 Grain Handling Facilities and Ethanol Production Facilities must

                      submit Grain Handling Facility Claim Forms or Ethanol Production




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                     Facility Claim Forms, respectively, under penalty of perjury

                     pursuant to 28 U.S.C. § 1746 that the information provided is true

                     and correct to the best of the Class Members’ knowledge,

                     information, and belief, and shall be required to produce true,

                     accurate, and authentic business records documenting (1) Storage

                     Capacity, if a Grain Handling Facility; (2) Production Capacity, if

                     an Ethanol Production Facility; (3) the number of Corn bushels

                     purchased per Marketing Year; (4) the number of Corn bushels sold

                     per Marketing Year (if any); and (5) the number of short tons of

                     DDGs sold per Marketing Year (if any). The Claim Form must bear

                     the Signature of the authorized business representative.     Class

                     Members that are Non-Producers that fail to submit true, accurate,

                     and authentic business records reflecting the foregoing items of

                     information or that otherwise fail to properly complete the Claim

                     Form(s) shall have such Claim Form(s) rejected and returned for

                     resubmission under the procedures established and agreed to by the

                     Parties and the Claims Administrator and approved by the Court.

                     All disputes over the adequacy or timeliness of the Claim Forms

                     shall first be decided by the Claims Administrator.        Anyone

                     aggrieved by the decision of the Claims Administrator may appeal

                     that decision to the Special Masters under procedures to be

                     established and agreed to by the Parties for such appeals, provided




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                     that the Special Masters’ decision shall be final, non-appealable, and

                     not subject to further review.

               3.7.3.3 Rejected Claim Forms must be corrected and resubmitted within

                     thirty (30) days after the Claims Administrator has issued notice of

                     rejection describing the reasons why the Claim Form was rejected.

                     If a Class Member that is required to resubmit a rejected Claim Form

                     does not timely resubmit a corrected Claim Form, the Class

                     Member’s Settlement Claim shall be rejected. If, after a second

                     submission, the Class Member has not provided a complete and

                     supported Claim Form sufficient in the determination of the Claims

                     Administrator to establish an entitlement to a recovery under this

                     Agreement and the Allocation Methodology, as required under

                     Section 3.7.2, and as applicable to that Class Member, the Class

                     Member’s Settlement Claim shall be rejected. Rejected Settlement

                     Claims shall not be eligible to recover from the Settlement Fund but

                     Class Members asserting such Settlement Claims shall otherwise be

                     bound by this Agreement. Anyone aggrieved by the decision of the

                     Claims Administrator may appeal that decision to the Special

                     Masters under procedures to be established and agreed to by the

                     Parties for such appeals, provided that the Special Masters’ decision

                     shall be final, non-appealable, and not subject to further review.

               3.7.3.4 All statements made in the Claim Form are sworn statements

                     submitted to the Claims Administrator under penalty of perjury that




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                      the information provided is true and correct to the best of the Class

                      Members’ knowledge, information, and belief. All statements and

                      documentary proof submitted in support of a Claim Form are subject

                      to verification, investigation, review, and/or audit by the Claims

                      Administrator.    The Claim Form shall also specify that any

                      documents submitted are true, accurate, and authentic copies of

                      documents contemporaneously prepared on or about the date

                      indicated on the document. If the Claims Administrator at any time

                      has reason to believe that a Class Member has made an intentional

                      misrepresentation, omission, or concealment of a material fact in the

                      Claim Form, or has provided fraudulent proof in support of the Class

                      Member’s Settlement Claim, the Claims Administrator shall

                      discontinue processing the Settlement Claim and report the alleged

                      intentional misrepresentation, omission, or concealment of material

                      fact and/or alleged fraudulent proof to the Special Masters, the

                      Court, Settlement Class Counsel, and Syngenta. Settlement Class

                      Counsel shall use their best efforts to obtain available USDA data in

                      electronic format, including, without limitation, Form FSA 578

                      and/or RMA Data, to permit the Claims Administrator to facilitate,

                      supplement, verify, and/or audit claims made by Class Members.

               3.7.3.5 The Claims Administrator shall have the authority to modify and/or

                      supplement the Claim Form and any other form required by this

                      Agreement to provide for more efficient administration of the




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                        Settlement, subject to prior written consent by Settlement Class

                        Counsel and Syngenta, provided that no Class Member who

                        previously completed an earlier iteration of the Claim Form shall be

                        required to submit a new Claim Form.

         3.7.4   Timing of Distributions to Class Members

                 3.7.4.1 No distributions to Class Members shall occur until after the Final

                        Effective Date.

         3.7.5   Costs of Settlement Administration

                 3.7.5.1 All costs of settlement administration shall be paid from the

                        Settlement Fund.

         Most Favored Nations

         3.8.1   Syngenta shall not enter into any settlement agreement (other than in the

                 course of trial or following a verdict) relating to any Claims against

                 Syngenta until one year after the Final Effective Date with: (a) an Opt-Out

                 or other Person that has a potential Claim against Syngenta but is not a

                 member of the Settlement Class; (b) on terms more favorable to such Person

                 than the terms of this Agreement; and (c) without the prior written consent

                 of Settlement Class Counsel, Subclass Counsel, and the Plaintiffs’

                 Settlement Negotiation Committee, which consent shall be withheld only in

                 good faith. During this Most Favored Nations (“MFN”) period, before

                 executing any settlement relating to any Claims against Syngenta, Syngenta

                 shall give no less than fourteen (14) days written notice to Settlement Class

                 Counsel disclosing the terms of the proposed settlement. This provision




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                 shall not apply with respect to claims brought by Excluded Exporters.

         3.8.2   The sole and exclusive remedy under this Agreement for any actual or

                 alleged violation by Syngenta of the MFN in Section 3.8.1 is an injunction

                 against Syngenta from making the allegedly more favorable payment.

                 Under no circumstances shall monetary damages be sought against or

                 imposed upon Syngenta for any actual or alleged violation of the MFN.

         3.8.3   Any application asserting a violation of the MFN and seeking an injunction

                 as described in Section 3.8.1 must be filed by Settlement Class Counsel in

                 the Court. If Settlement Class Counsel withhold their prior written consent

                 as set forth in Section 3.8.1, Settlement Class Counsel may move the Court

                 for an order enjoining Syngenta from proceeding with the settlement

                 agreement relating to Claims that Settlement Class Counsel contend

                 violates the MFN in Section 3.8.1. Syngenta retains the right to respond to

                 and contest any such application.

         3.8.4   The Parties to this Agreement agree that Settlement Class Counsel shall be

                 entitled to seek injunctive relief in the Court on behalf of the Settlement

                 Class for any actual or alleged violation of the MFN without the necessity

                 of proving actual loss or posting a bond. Syngenta further agrees that the

                 Settlement Class would be irreparably harmed by reason of a violation of

                 the MFN contained in this Agreement and that any remedy at law for a

                 breach of the MFN would be inadequate.

         Settlement Statistics, Preliminary Report, Final Report, and Potential Audit

         Process.




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         3.9.1   Throughout the Settlement Process, the Claims Administrator, and the

                 Notice Administrator, if necessary, shall compile and make available to

                 Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating

                 Committee, Syngenta, and the Special Masters, at their request, reports

                 containing summary statistics detailing the implementation of the

                 Settlement Process. Such reports shall include information regarding the

                 status of the Settlement Process including, without limitation, the Claims

                 Administrator’s fees and expenses, the number of proper and timely Opt-

                 Outs, the number and type of Claim Forms received, the number and type

                 of Claim Forms fully processed, the number and type of Claims Forms in

                 process, the number and type of Claim Forms rejected and the reason for

                 same, the number and type of Claim Forms determined by the Claims

                 Administrator to be deficient, and if deficient, the number to have been

                 timely cured, and the number of payments issued pursuant to the Settlement

                 Process. Settlement Class Counsel or Syngenta may request an independent

                 person, to be appointed by the Court and compensated from the Settlement

                 Fund, to audit the work of the Claims Administrator. This audit shall be

                 limited to verifying the billing and/or the accuracy of the work performed

                 by the Claims Administrator.

         3.9.2   The Claims Administrator shall issue a Claims Administrator’s Preliminary

                 Report and a Claims Administrator’s Final Report.              The Claims

                 Administrator shall issue the Claims Administrator’s Preliminary Report as

                 soon as possible but no later than sixty (60) days after the Claims Deadline;




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               however, if the volume and timing of submissions close to the Claims

               Deadline warrants an extension of time to permit its review of submitted

               and resubmitted Claim Forms pursuant to Section 3.7.3.3, the Claims

               Administrator may request an extension, which must be approved by

               Settlement Class Counsel and Syngenta. Based on a clearly erroneous

               factual determination standard, any Party may appeal within thirty (30) days

               after the Claims Administrator’s issuance of the Preliminary Report; and

               within thirty (30) days after such appeal, the Special Masters shall make a

               final and non-appealable determination of any issues presented on appeal

               and report the determination to Settlement Class Counsel, Subclass

               Counsel, Plaintiffs’ Negotiating Committee, Syngenta, the Court, and the

               Claims Administrator, which reports shall be binding on the Representative

               Plaintiffs, Class Members, Syngenta, and the Claims Administrator. Then,

               after all appeals to the Special Masters, if any, are complete, the Claims

               Administrator shall issue within thirty (30) days the Claims Administrator’s

               Final Report, which shall be submitted to the Court for approval.

         No Duplicative Recovery

         3.10.1 Under no circumstances shall a Class Member be entitled under this

               Agreement to receive duplicative recovery for the same alleged Interest,

               injury, damages, or for any other compensation for which the Class Member

               or a different Class Member within the same Subclass, or an Opt-Out, has

               already been compensated in any action, proceeding, compromise or

               settlement. Nothing herein, however, shall prevent a Class Member who




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                has multiple, distinct Interests, including Producer and Non-Producer

                Interests, from receiving non-duplicative compensation for each such

                Interest, pursuant to the terms of the Allocation Methodology.

         Stay and Resumption of Proceedings

         3.11.1 Counsel for the Parties shall (1) file a joint request, contemporaneous with

                the filing of the Motion for Preliminary Approval as set forth in Section

                3.2.1, for a stay of all proceedings in the MDL Actions as related to the

                Released Parties (including requesting that any applicable courts defer all

                trial dates set in any of the Class Members’ cases and deferring or holding

                in abeyance any currently pending motions and discovery), and shall (2)

                seek an order from the Court prohibiting the prosecution of any pending or

                subsequently filed litigation by Class Members, and (3) obtain a stay of any

                other proceedings asserting any of the Released Claims, including, without

                limitation, the actions listed on the attached Exhibit 1. Proceedings in the

                Court arising out of and relating to this Agreement, and any other

                proceeding necessary to effectuate this Agreement in any other action shall

                be excepted from the stay. In the event the Court does not give Final

                Approval to this Agreement, the Final Effective Date does not occur, or this

                Agreement is otherwise terminated, the Parties agree that all stayed

                proceedings shall resume in a reasonable manner.

         Entry of Final Judgment

         3.12.1 If the Court gives Final Approval to this Agreement following the Fairness

                Hearing, Settlement Class Counsel and Syngenta shall jointly request that




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               the Court enter a Final Approval Order, including the Court’s express

               determination under Fed. R. Civ. P. 54(b) that there is no just reason for

               delay and directing that orders of dismissal with respect to all Claims by

               Class Members be deemed as final judgments.

         Public Statements and Websites

         3.13.1 Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating

               Committee, and Syngenta and its counsel agree not to make any false or

               misleading statements in any form regarding the Settlement. Settlement

               Class Counsel, Subclass Counsel, and Plaintiffs’ Negotiating Counsel also

               agree to seek prior approval from Syngenta regarding any press releases,

               notices, or public statements about Syngenta or Agrisure Viptera, and/or

               Agrisure Duracade products, aside from those that describe the Settlement.

               Approval of such press releases, notices or any other public statements shall

               not be unreasonably withheld. Nothing in this provision shall prevent

               Settlement Class Counsel, Subclass Counsel, or Plaintiffs’ Negotiating

               Committee from describing their role in this litigation or from

               communicating privately with Class Members other than those known by

               Class Counsel to be previously represented by an attorney in the course of

               giving legal advice regarding the terms of this Agreement or otherwise in

               the course of their representation of the Settlement Class. Settlement Class

               Counsel, Subclass Counsel, and Plaintiffs’ Negotiating Committee shall

               provide counsel for Syngenta (as identified in Sections 4.4.1 and 9.11) at

               least four days’ notice of any public filing or statement regarding Syngenta,




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                Agrisure Viptera, and/or Agrisure Duracade products with the exception of

                those that describe this Agreement and those that describe their role in this

                litigation or communicate privately with Class Members in the course of

                giving legal advice regarding the terms of this Agreement or otherwise in

                the course of their representation of the Settlement Class.

         3.13.2 Settlement Class Counsel, Subclass Counsel, and Plaintiffs’ Negotiating

                Committee agree that as part of the Motion for Preliminary Approval, they

                shall seek an order directing that all websites that seek to attract, advise,

                inform or otherwise provide information or solicitation of any Class

                Member shall be taken down or modified to conform exactly to the

                information contained in the Court-approved Notice Plan and shall link to

                the Court-approved website at www.CornSeedSettlement.com. The Parties

                agree also to seek similar orders, if necessary, in the Related Actions. No

                false or misleading statements in any form regarding the Settlement shall be

                permitted.

         CAFA Notices

         3.14.1 Within ten (10) days after submission of this Agreement to the Court,

                Syngenta, with the aid of the Claims Administrator, shall serve notices of

                the Settlement on state and federal regulatory authorities as required by

                Section 3 of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715

                (“CAFA Notices”). Syngenta shall simultaneously serve copies of the

                CAFA Notices on Settlement Class Counsel, Subclass Counsel, and the

                Plaintiffs’ Negotiating Committee. In the event that a state or federal




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                      official raises concerns about the Settlement, the Parties and their counsel

                      agree to work together in good faith to resolve those concerns.

              Motion for Final Approval of the Settlement

              3.15.1 Settlement Class Counsel shall file a motion with the Court seeking an order

                      granting final approval of this Agreement pursuant to Fed. R. Civ. P. 23 (the

                      “Motion for Final Approval”), together with a declaration from the Notice

                      Administrator (with respect to the provision of the Class Notice) and from

                      the Claims Administrator (regarding the Settlement Process), by the Motion

                      for Final Approval Deadline as set forth in Section 4.6.1. Settlement Class

                      Counsel and other counsel representing Class Members shall file the Fee

                      and Expense Applications at least thirty (30) days before the deadline to

                      object to the Settlement or as otherwise ordered by the Court.

4.      SETTLEMENT ADMINISTRATION

              Claims Administrator

              4.1.1   The Claims Administrator may retain claim officers, experts, and/or

                      advisors as are reasonably necessary to carry out the duties of the Claims

                      Administrator. The administration of the Settlement Fund, the Settlement

                      Process and Allocation Methodology procedures shall be subject to the

                      Court’s supervision and remain at all times under the exclusive and

                      continuing jurisdiction of the Court. The Claims Administrator shall issue

                      reports as requested by Settlement Class Counsel and Syngenta regarding

                      its activities, fees and expenses, and other procedures. Settlement Class

                      Counsel, Subclass Counsel, Plaintiffs’ Negotiating Committee, or Syngenta




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                  may raise by written objection filed with the Court any challenge to the

                  procedures instituted by, or the fees and expenses of, the Claims

                  Administrator with respect to the administration of the Settlement Fund.

                  The Claims Administrator shall be responsible for disseminating

                  information to Class Members concerning settlement procedures, among

                  other ways, by establishing a website and a toll-free telephone number.

                  Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating

                  Counsel, and Syngenta, and their respective agents and consultants may also

                  disseminate information about the Settlement and the Settlement Process

                  that is fully consistent with the Court’s approved Notice Plan and Section

                  3.13 above and not in any way false or misleading.

         Notice

         4.2.1    The Notice Plan shall satisfy Rule 23 of the Federal Rules of Civil

                  Procedure and be subject to the Court’s approval.

                  4.2.1.1 As described in Section 3.7.1.2, Syngenta shall advance into the

                         Escrow Account amounts sufficient to pay the costs to implement

                         the Notice Plan.       Thereafter, Settlement Class Counsel in

                         consultation with Syngenta and with the aid of the Notice

                         Administrator, in accordance with Fed. R. Civ. P. 23(e), the Due

                         Process clause of the United States Constitution, and the Preliminary

                         Approval Order, shall provide all Class Members that can be

                         identified by reasonable means with the best notice practicable

                         under the circumstances.      Such notice shall include, without




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                        limitation, direct mail notice, publication on the Settlement Website,

                        and additional publication and other notice as set forth in the Notice

                        Plan.

                 4.2.1.2 As directed by the Preliminary Approval Order, Settlement Class

                        Counsel, through the Claims Administrator, shall establish and

                        maintain the Settlement Website, on which at least the relevant

                        pleadings, settlement documents, any applicable deadlines, and the

                        Long-Form Notice shall be posted in order to provide information

                        to the Settlement Class of the proposed Settlement. Settlement

                        Class Counsel shall notify Syngenta’s counsel of the date the Long-

                        Form Notice shall be issued to the Settlement Class at least five (5)

                        days prior to the date of issuance.

                 4.2.1.3 Settlement Class Counsel, through the Claims Administrator, also

                        shall cause the Publication Notice to be published to the Class

                        Members as contained in the Notice Plan and as directed by the

                        Preliminary Approval Order.

         4.2.2   All notice contemplated under this Agreement and the Notice Plan shall be

                 issued and completed by the time set forth in Section 4.6, unless otherwise

                 ordered by the Court.

         Opting Out of the Settlement Class

         4.3.1   Each Class Member may, at its option, elect to opt out of the Settlement.

                 Any Class Member that wishes to opt out of the Settlement must do so, in

                 writing, by mailing a request for exclusion to the Claims Administrator




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                 signed by the Class Member (the “Opt-Out Request”). Any such request

                 must be sent to the Claims Administrator and postmarked by the Opt-Out

                 Deadline.

         4.3.2   The request to opt out must:

                    •   bear the Handwritten Signature of the Class Member seeking to opt
                        out, or in the case of any Class Member that is a minor,
                        incapacitated, incompetent or deceased person, or not a natural
                        person, by any natural person who can legally bind the Class
                        Member (except that an attorney engaged to represent the Class
                        Member in litigation against Syngenta cannot sign for any Class
                        Member);

                    •   set out the Class Member’s full legal name (or entity name, if
                        applicable), valid mailing address, nine-digit social security or
                        employer identification number (if an entity), functioning telephone
                        number, and the address of the farm(s), whose Corn priced for sale
                        after September 15, 2013 was allegedly impacted by Agrisure
                        Viptera and/or Agrisure Duracade Corn Seed;

                    •   state that the Class Member has reviewed and understood the Class
                        Notice and chooses to be excluded from the Settlement Class and
                        understands that, by opting out, the Class Member shall not share in
                        any recovery obtained by judgment on behalf of the Settlement
                        Class;

                    •   provide the name of and contact information for the Class Member’s
                        attorney, if represented;

                    •   indicate whether, during the Class Period, the Class Member (a)
                        owned any Interest in Corn in the United States priced for sale after
                        September 15, 2013, (b) was an Ethanol Production Facility, or (c)
                        was a Grain Handling Facility;

                    •   if during the Class Period the Class Member owned an Interest in
                        Corn in the United States priced for sale after September 15, 2013,
                        provide information establishing that Interest either by (a)
                        consenting to the release of government records including Form
                        FSA 578 and RMA Data for each year from 2013-2017 related to
                        any Corn crop in which the Class Member has an Interest or (b)
                        certifying by penalty of perjury, based on the Class Members’
                        knowledge, information, and belief, the number of planted Corn
                        acres for each calendar year from 2013-2017 and the Class


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                        Member’s share of Corn planted on those acres in which the Class
                        Member has an Interest; and

                    •   if a Non-Producer, identify and produce business records
                        demonstrating (a) the number of Corn bushels purchased per
                        Marketing Year; (b) the number of Corn bushels priced for sale after
                        September 15, 2013 and for each Marketing Year (if any); (c) the
                        number of short tons of DDGs priced for sale after September 15,
                        2013 and for each Marketing Year (if any); (d) if a Grain Handling
                        Facility, its total Storage Capacity; or (e) if an Ethanol Production
                        Facility, its total Production Capacity.

         4.3.3   No person or entity or other Class Member may opt-out the Interest of, or

                 on behalf of, any other Class Member.

         4.3.4   All requests to opt out that fail to satisfy the requirements of this Section,

                 as well as any additional requirements that the Court may impose, shall be

                 void. No class-wide, mass opt-outs, or opt-outs signed by attorneys are

                 permitted under this Agreement.

         4.3.5   Any Class Member that chooses to opt out of the Settlement may rescind or

                 revoke such decision by submitting a timely revocation in writing to the

                 Claims Administrator. Any such revocation must be postmarked by the

                 Opt-Out Deadline and signed by the Class Member, unless Settlement Class

                 Counsel and Syngenta mutually agree to accept the revocation and to permit

                 the Class Member to submit a Settlement Claim after the Opt-Out Deadline.

         4.3.6   Any Class Member that does not properly and timely submit a request to

                 opt out as required in this Agreement shall be deemed to have waived all

                 rights to opt out and shall be deemed a member of the Settlement Class for

                 all purposes under this Agreement.

          Objecting to the Settlement




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         4.4.1   Any Class Member that does not timely and properly opt out of the

                 Settlement may object to the fairness, reasonableness, or adequacy of the

                 proposed Settlement under Federal Rule of Civil Procedure 23. Each Class

                 Member that wishes to object to any term of this Agreement must do so, in

                 writing, by filing a written objection with the Clerk of the Court and mailing

                 it to Settlement Class Counsel and counsel for Syngenta at the addresses set

                 forth below:

                 Settlement Class Counsel:              Counsel for Syngenta:

                 Daniel E. Gustafson                    Leslie M. Smith, P.C.
                 Gustafson Gluek, PLLC                  Kirkland & Ellis LLP
                 120 S. 6th Street, Suite 2600          300 North LaSalle Street
                 Minneapolis, MN 55402                  Chicago, IL 60654

                 Christopher A. Seeger
                 Seeger Weiss LLP
                 77 Water Street
                 New York, NY 10005

                 Patrick J. Stueve
                 Stueve Siegel Hanson LLP
                 460 Nichols Road, Suite 200
                 Kansas City, MO 64112


         4.4.2   Settlement Class Counsel and/or counsel for Syngenta shall provide notice

                 of any objections to Subclass Counsel and Plaintiffs’ Negotiating

                 Committee.

         4.4.3   Any such objection must be postmarked by the deadline for filing objections

                 and under the procedures established by the Court. Any such objection must

                 (a) attach copies of any materials that shall be submitted to the Court or

                 presented at the Fairness Hearing; (b) be personally signed by the Class




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                 Member and, if represented, by his/her/its counsel; (c) include information

                 or documents sufficient to show that the objector is a Class Member; and

                 (d) clearly state in detail (i) the legal and factual ground(s) for the objection,

                 (ii) the Class Member’s name, mailing address, email address, and

                 telephone number, (iii) if represented by counsel, such counsel’s name,

                 email address, mailing address and telephone number, and (iv) any request

                 to present argument to the Court at the Fairness Hearing.

         4.4.4   Any objection that fails to satisfy the requirements of this Section, or that is

                 not properly and timely submitted, shall be deemed void and waived unless

                 otherwise ordered by the Court.           The Court shall make the final

                 determination if any objection complies with the requirements of this

                 Section. Any Party may respond to any objection by the date as ordered by

                 the Court.

         Requests to Appear at Final Approval Hearing

         4.5.1   Any Class Member that wishes to appear and be heard in person or by

                 counsel at the Fairness Hearing must make such request by notifying the

                 Court and the Parties’ respective counsel at the addresses set forth in Section

                 4.4.1 of this Agreement, subject to the discretion of the Court. Any such

                 request must be filed with the Clerk of the Court and postmarked no later

                 than thirty (30) days prior to the Fairness Hearing, or as otherwise ordered

                 by the Court, and must state the name, address, and telephone number of

                 the Class Member, as well as the name, address, and telephone number of

                 the person that shall appear on his or her behalf. Any request for appearance




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                   that fails to satisfy the requirements of this Section, or that has otherwise

                   not been properly or timely submitted, shall be deemed ineffective and a

                   waiver of such Class Member’s rights to appear and to comment on the

                   Settlement at the Fairness Hearing. Only the Parties, Class Members, or

                   their counsel may request to appear and be heard at the Fairness Hearing.

                   Persons or entities that opt out may not request to appear and be heard at

                   the Fairness Hearing.

           Deadlines

           4.6.1   Unless otherwise ordered by the Court, the following deadlines shall apply.

                   In the case of a discrepancy between the table below and the text of this

                   Agreement, the dates in the following table control:



               ACTION                                           TIMING

    Filing of Motion of Preliminary
                                                      14 days after Execution Date
               Approval

                                                 10 days after the Motion for Preliminary
        CAFA Notice Deadline
                                                            Approval Is Filed

                                                 10 days after issuance of the Preliminary
     First Mailing of Class Notice
                                                             Approval Order

  First Installment of Gross Settlement
                                                      30 days after Execution Date
       Proceeds Paid into Escrow

           Opt-Out Deadline                   90 days after First Mailing of Class Notice

              Opt-Out List                         30 days after the Opt-Out Deadline



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                    ACTION                                           TIMING

             Notice Completion Date               150 days after First Mailing of Class Notice

                 Claims Deadline                  150 days after First Mailing of Class Notice

                                                      30 days after receipt of the Opt-Out List,
         Syngenta Walk Away Deadline
                                                             unless otherwise extended

       Motion for Final Approval Deadline         14 days after Syngenta Walk Away Deadline

      Fee and Expense Applications Deadline           30 days before Objection Filing Deadline

            Objection Filing Deadline                       As determined by the Court

          Objection Response Deadline                 30 days after Objection Filing Deadline

      Second Installment of Gross Settlement
                                                           On or before March 31, 2018
        Proceeds Paid into Escrow Account

       Final Installment of Gross Settlement       The later of April 1, 2019 or within 30 days

        Proceeds Paid into Escrow Account              after entry of the Final Approval Order


                Retention of Records

                4.7.1   The Claims Administrator shall retain all Claim Forms, and all records of

                        allocation and payments under the Allocation Methodology, for a period of

                        five (5) years from the Final Effective Date of the Agreement or as ordered

                        by the Court.

5.      EXCLUSIVE REMEDY/DISMISSAL OF CLAIMS/JURISDICTION

                Limitation on Released Party Liability

                5.1.1   No Released Party shall be subject to liability or expense of any kind to any

                        Class Member or their respective counsel related to the Released Claims

                        except as provided in this Agreement.


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              Dismissal of Claims

              5.2.1   The Parties agree that upon the Final Effective Date of this Agreement, all

                      Released Claims shall be dismissed with prejudice in accordance with the

                      Final Approval Order entered by the Court.

6.      RELEASES AND RESERVATIONS

              Released Claims

              6.1.1   In consideration of the benefits described and the provisions contained in

                      this Agreement, the Class Releasors promise, covenant, and agree that, upon

                      the Final Effective Date and by operation of the Final Approval Order, the

                      Class Releasors shall release and forever discharge the Released Parties

                      from any liability for all claims of any nature whatsoever in law or in equity,

                      past and present, and whether known or unknown, suspected or claimed,

                      relating to or arising under any federal, state, local, or international statute,

                      regulation, or law (including state consumer fraud, warranty, unjust

                      enrichment laws, codal law, adjudication, quasi-adjudication, tort claims,

                      contract claims, actions, causes of action, declaratory judgment actions,

                      cross-claims, counterclaims, third-party claims, demands, and claims for

                      damages, compensatory damages, liquidated damages, punitive damages,

                      exemplary damages, multiple damages, and other noncompensatory

                      damages or penalties of any kind, fines, equitable relief, injunctive relief,

                      conditional or other payments or interest of any type, debts, liens, costs,

                      expenses and/or attorneys’ fees, interest, or liabilities) that have been or

                      could have been brought in connection with the development, introduction,




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                 production, distribution, sale, marketing, and efforts to gain regulatory

                 approval of Agrisure Viptera and/or Agrisure Duracade Corn Seed, and

                 including, but not limited to, any Claim based on the alleged decrease in

                 price of Corn, soy, milo, DDGs, or any other commodity, grain re-direction

                 costs, or any other form of alleged harm or damage, subject only to the

                 express exceptions listed in the Reservation of Claims and Rights in Section

                 6.2 below.

         6.1.2   All Class Releasors covenant and agree that they shall not hereafter seek to

                 sue or otherwise establish liability against any Released Parties based, in

                 whole or in part, on any of the Released Claims. Each Class Releasor

                 expressly waives and fully, finally, and forever settles and releases any

                 known or unknown, suspected or unsuspected, contingent or non-contingent

                 Released Claims without regard to the subsequent discovery or existence of

                 different or additional facts. The Parties shall cooperate and assist one

                 another in defending against and obtaining the dismissal of any claims

                 brought by Persons seeking to assert claims released under this Agreement.

         6.1.3   IN ADDITION, EACH CLASS RELEASOR HEREBY EXPRESSLY

                 WAIVES AND RELEASES, UPON THE FINAL EFFECTIVE DATE,

                 ANY     AND     ALL     PROVISIONS,        RIGHTS,     AND      BENEFITS

                 CONFERRED BY ANY STATUTE, LAW OR PRINCIPLE OF

                 COMMON LAW, WHICH IS SIMILAR, COMPARABLE, OR

                 EQUIVALENT TO § 1542 OF THE CALIFORNIA CIVIL CODE,

                 WHICH READS:




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                         SECTION 1542. GENERAL RELEASE; EXTENT. A

                         GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

                         WHICH THE CREDITOR DOES NOT KNOW OR

                         SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE

                         TIME OF EXECUTING THE RELEASE, WHICH IF

                         KNOWN BY HIM OR HER MUST HAVE MATERIALLY

                         AFFECTED HIS SETTLEMENT WITH THE DEBTOR.

         6.1.4   Each Class Releasor may hereafter discover facts other than or different

                 from those which he, she, or it knows or believes to be true with respect to

                 the claims which are the subject matter of this Section 6.1, but each Class

                 Releasor hereby expressly waives and fully, finally, and forever settles and

                 releases, upon the Final Effective Date, any known or unknown, suspected

                 or unsuspected, contingent or non-contingent Released Claims with respect

                 to the subject matter of this Section 6.1 whether or not concealed or hidden,

                 without regard to the subsequent discovery or existence of such different or

                 additional facts. Each Class Releasor also hereby expressly waives and

                 fully, finally, and forever settles and releases any and all Released Claims

                 it may have against the Released Parties under § 17200, et seq., of the

                 California Business and Professions Code.

         6.1.5   From and after the Final Effective Date, for the consideration provided for

                 in this Agreement and by operation of the Final Approval Order, the Class

                 Releasors covenant, promise, and agree that they shall not, at any time,

                 institute, cause to be instituted, assist in instituting, or permit to be instituted




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                 on his, her, or its behalf, or on behalf of any other individual or entity, any

                 proceeding (1) alleging or asserting any of his or her respective Released

                 Claims against the Released Parties in any federal court, any state court, or

                 arbitration, regulatory agency, or any other tribunal or forum, or (2)

                 challenging the validity of the release of claims by Class Releasors as set

                 forth in this Section 6.1.

         6.1.6   This Release is not intended to prevent Syngenta from exercising its rights

                 of contribution, subrogation, or indemnity under any law.

         6.1.7   This Release shall apply mutually as between the Released Parties and Class

                 Releasors to the extent that any claims or defenses Syngenta might have

                 brought against the Class Releasors for contributory or comparative fault,

                 assumption of the risk, or similar claims for sharing or allocating fault under

                 federal or state law shall be extinguished under this Agreement, except as

                 set forth in Section 6.2.2.

         Reservation of Claims and Rights

         6.2.1   Released Claims shall not include (a) any claim against any person or entity

                 that is not a Released Party, or (b) any claim to enforce the terms of this

                 Agreement or remedy a violation or breach of this Agreement, provided that

                 any such action shall be brought in the Court. Released Claims also shall

                 not include any claim against the Released Parties for bodily injury

                 allegedly suffered in connection with Agrisure Viptera and/or Agrisure

                 Duracade Corn Seed.

         6.2.2   Notwithstanding Section 6.2.1, the Parties intend that this Agreement




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                 results in the termination or bar of all claims for contribution and/or non-

                 contractual indemnity against Syngenta and the Released Parties with

                 respect to Claims subject to this Agreement. If Syngenta or any Released

                 Party incurs any judgments due to a claim for contribution or non-

                 contractual indemnification arising out of a claim brought by a Class

                 Member against a non-Released Party, including, without limitation, any

                 Excluded Exporter, such Class Member shall indemnify Syngenta and the

                 Released Parties for such amount.

         6.2.3   The Parties agree that this Agreement, whether or not the Final Effective

                 Date occurs, and any and all negotiations, documents, and discussions

                 associated with it, shall be without prejudice to the rights of any Party (other

                 than those compromised in this Agreement); shall not be deemed or

                 construed to be an admission or evidence of any violation of any statute or

                 law, any liability or wrongdoing by any of the Released Parties, or of the

                 truth of any of the claims or allegations contained in any complaint or

                 pleading, whether in the MDL Actions, any other actions, or otherwise. The

                 Parties expressly reserve all of their rights if this Agreement fails to become

                 Final and effective substantially in accordance with its terms.

         6.2.4   If the Court does not certify the Settlement Classes or this Agreement is not

                 approved by the Court substantially in accordance with its terms, and does

                 not become subject to a Final Approval Order following such approval, or

                 the Final Approval Order does not become Final, then no class shall be

                 deemed certified by or as a result of this Agreement, and the MDL Actions




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                      and the Related Actions for all purposes shall revert to their status as of the

                      date before the execution of this Agreement, and the Parties agree that all

                      stayed proceedings shall resume in a reasonable manner. In such event,

                      Syngenta shall not be deemed to have consented to certification of the

                      Settlement Classes, and shall retain all rights to oppose class certification,

                      including, without limitation, to certification of the identical class provided

                      for in this Agreement. Syngenta shall also be entitled to a refund of the

                      portion of the Gross Settlement Proceeds that it has deposited into the

                      Escrow Account, minus any amounts that have then been incurred for the

                      fees and expenses of the Claims Administrator and the Notice

                      Administrator.

7.      ADMINISTRATIVE EXPENSES AND ATTORNEYS’ FEES

              Administrative Expenses

              7.1.1   Other than Syngenta’s own fees, costs and expenses, the Released Parties

                      shall not be liable for any litigation fees, costs or expenses of the MDL

                      Actions except as expressly set forth in this Agreement and as approved by

                      the Court.

              7.1.2   Syngenta and the Released Parties shall have no liability with respect to any

                      disputes among plaintiffs’ counsel relating to the award, allocation, or

                      entitlement to any fees, costs, or expenses, including without limitation, any

                      Common Benefit Fund, Joint Prosecution Agreement, or other agreements

                      relating to pursuit of the MDL Actions or any other litigation, except that

                      Syngenta shall comply with its obligations under the Court’s existing




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                 orders.

         Attorneys’ Fees, Expenses, and Plaintiff Service Awards

         7.2.1   As part of the Settlement, Settlement Class Counsel and other counsel

                 representing Class Members who performed work for the benefit of Class

                 Members shall make Fee and Expense Applications to the Honorable John

                 W. Lungstrum of the United States District Court for the District of Kansas,

                 or the Honorable David R. Herndon of the United States District Court for

                 the Southern District of Illinois, or the Honorable Laurie J. Miller of the

                 Fourth Judicial District Court, County of Hennepin, State of Minnesota for

                 a Fee and Expense Award. Syngenta shall have the right to object to,

                 oppose, or support the Fee and Expense Applications submitted by

                 Settlement Class Counsel and/or other counsel representing Class Members

                 who performed work for the benefit of Class Members.

         7.2.2   Any Fee and Expense Award in conjunction with this Settlement shall be

                 issued by the Court, in consultation with and approved by the Honorable

                 David R. Herndon of the United States District Court for the Southern

                 District of Illinois and the Honorable Laurie J. Miller of the Fourth Judicial

                 District Court, County of Hennepin, State of Minnesota (or if they are

                 unavailable, another judge from their respective courts), in a written order

                 by the Court and shall be paid from the Settlement Fund. The Court’s Fee

                 and Expense Award, however, as set forth above, shall be separate from its

                 determination of whether to approve the Settlement. In the event the Court

                 approves the Settlement, but denies, in whole or in part, the Fee and




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                 Expense Applications by Settlement Class Counsel and other counsel

                 representing Class Members, the Settlement shall nevertheless be binding

                 on the Parties. If the Court declines to approve the Settlement, no Fee and

                 Expense Award shall be paid. Syngenta shall have no involvement in, nor

                 any liability with respect to, the allocation and distribution of the Fee and

                 Expense Award.

         7.2.3   As set forth in Section 9.18.2, disputes arising from the Fee and Expense

                 Award shall be subject to the jurisdiction of the Court, except that:

                 7.2.3.1 Matters arising from client fee contracts and referring counsel

                        referral agreements involving the law firm of Clark, Love, & Hutson

                        shall be subject to the jurisdiction of the Honorable David J.

                        Herndon of the United States District Court for the Southern District

                        of Illinois (or if he is unavailable, another judge from his respective

                        court).    For example, Judge Herndon shall have exclusive and

                        continuing jurisdiction to:

                            •     Approve fee disbursements with respect to all Class

                                  Members represented by Clark, Love, & Hutson; and

                            •     Decide disputes between counsel for various Class Members

                                  arising out of the representation of Class Members

                                  represented by Clark, Love, & Hutson.

                        Nothing in this Section is intended to interfere with the claims

                        administration process or the allocation process as it relates to the

                        national class settlement to be filed before and overseen by the




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                      Honorable John W. Lungstrum and the United States District Court

                      for the District of Kansas. However, it is specifically agreed herein

                      that any dispute as it relates to this Section 7.2.3.1 shall be under the

                      exclusive and continuing jurisdiction of the Honorable David

                      Herndon and the United States District Court for the Southern

                      District of Illinois.

               7.2.3.2 Matters arising from client fee contracts and referring counsel

                      referral agreements involving Class Members with claims pending

                      at any time in In re Syngenta Class Action Litigation, Court File No.

                      27-CV-15-12625, in the Fourth Judicial District Court, County of

                      Hennepin, State of Minnesota (the “Minnesota Plaintiffs”), shall be

                      subject to the jurisdiction of the Honorable Laurie J. Miller of the

                      Fourth Judicial District Court, County of Hennepin, State of

                      Minnesota (or if she is unavailable, another judge from her

                      respective court). For example, Judge Miller shall have exclusive

                      and continuing jurisdiction to:

                          •   Approve fee disbursements with respect to all Minnesota

                              Plaintiffs; and

                          •   Decide disputes between counsel for various Class Members

                              arising out of the representation of any Minnesota Plaintiffs.

                      Nothing in this Section is intended to interfere with the claims

                      administration process or the allocation process as it relates to the

                      national class settlement to be filed before and overseen by the




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                             Honorable John W. Lungstrum and the United States District Court

                             for the District of Kansas. However, it is specifically agreed herein

                             that any dispute as it relates to this Section 7.2.3.2 shall be under the

                             exclusive and continuing jurisdiction of the Honorable Laurie J.

                             Miller of the Fourth Judicial District Court, County of Hennepin,

                             State of Minnesota.

              7.2.4   As part of the Fee and Expense Applications, Settlement Class Counsel may

                      petition the Court for Plaintiff Service Awards for the Representative

                      Plaintiffs and bellwether plaintiffs. Syngenta shall have the right to object

                      to, support, or oppose proposed Representative Plaintiffs’ Service Awards.

                      Any Representative Plaintiff Service Award shall be approved by the Court

                      in a written order and shall be paid from the Settlement Fund. Syngenta

                      shall have no obligation relating to the above-referenced Representative

                      Plaintiffs’ Service Awards.

8.      WALK AWAY RIGHTS AND TERMINATION OF THIS AGREEMENT

              Termination

              8.1.1   This Agreement shall be terminated, without notice, if the Court declines to

                      enter the Preliminary Approval Order, declines to grant Final Approval, or

                      if such approval or other necessary orders do not become Final (as a result

                      of reversal on appeal or otherwise).

              Walk Away Right

              8.2.1   Syngenta shall have the absolute and unconditional right, solely at its

                      option, to terminate this Agreement (such option being referred to in this




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                 Agreement as, the “Walk Away Right”) in the event any of the triggers or

                 thresholds described in Section 8.3.1 are exceeded. If any of the below

                 triggers or thresholds are exceeded, then during the period beginning upon

                 Syngenta’s receipt of the Opt-Out List and ending at midnight Central Time

                 on the thirtieth (30th) day thereafter (such period being referred to as the

                 “Walk Away Period” and the last day of such period being referred to in

                 this Agreement as the “Walk Away Deadline”), Syngenta has the option to

                 exercise its Walk Away Right.

         Walk Away Right Triggers and Thresholds

         8.3.1   Syngenta can exercise its Walk Away Right if any of the triggers or

                 thresholds contained in a separate agreement (to be filed under seal with the

                 Court and to be confidential and attorney’s eyes only and access limited to

                 Settlement Class Counsel, Subclass Counsel, Plaintiffs’ Negotiating

                 Committee, and Syngenta) are exceeded.

          Time to Exercise Walk Away Right

         8.4.1   Syngenta may exercise its Walk Away Right during the Walk Away Period

                 upon written notice to such effect delivered to the Court and Settlement

                 Class Counsel.

         8.4.2   If Syngenta has a Walk Away Right, alternatively, Syngenta may, in its sole

                 and absolute discretion, do any of the following at any time during the Walk

                 Away Period upon written notice to such effect delivered to the Court and

                 Settlement Class Counsel:




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                      8.4.2.1 extend the date for the exercise of its Walk Away Right by a period

                              of thirty (30) days; or

                      8.4.2.2 irrevocably waive its Walk Away Right.

               Effects of Termination

              8.5.1   In the event of notice of termination by Syngenta, this Agreement shall be

                      of no further force or effect; the Parties shall jointly request the Court to

                      vacate any order certifying the Settlement Class; and the Parties agree that

                      all stayed proceedings shall resume in a reasonable manner.

              8.5.2   Any term of this Agreement to the contrary notwithstanding, upon Syngenta

                      exercising its Walk Away Right, this Agreement immediately shall

                      terminate and (without limitation of the foregoing) Syngenta immediately

                      shall cease to have any further financial obligations under this Agreement;

                      provided however, that Section 3.6 shall survive such termination.

9.      MISCELLANEOUS PROVISIONS

               Recitals

              9.1.1   The recitals set forth prior to Section 1 of this Agreement are hereby

                      expressly incorporated into this Agreement and made a part hereof.

               Best Efforts

              9.2.1   The Parties agree to use their best efforts, including all steps required by

                      this Agreement and other efforts that may be necessary or appropriate, by

                      order of the Court or otherwise, to carry out the terms of this Agreement.

               Good Faith

              9.3.1   The Parties acknowledge that the litigation was prosecuted and defended in




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                 good faith by Settlement Class Counsel, Subclass Counsel, Plaintiffs’

                 Negotiating Committee, MDL Co-Lead Counsel, Minnesota Co-Lead

                 Litigation Class Counsel, Minnesota Co-Lead Litigation Counsel for

                 Individual Plaintiffs, and counsel for Syngenta and that no Party has a basis

                 on which to assert a violation of Rule 11 of the Federal Rules of Civil

                 Procedure or any similar provision.

          No Inducement

         9.4.1   The Parties acknowledge, stipulate, and agree that no covenant, obligation,

                 condition,   representation,   warranty,    inducement,     negotiation,   or

                 understanding concerning any part or all of the subject matter of this

                 Agreement has been made or relied on except as expressly set forth in this

                 Agreement.

          Severability

         9.5.1   The invalidity or unenforceability of any provision of this Agreement shall

                 in no way affect the validity or enforceability of any other provision. If, in

                 any action before any court or other tribunal of competent jurisdiction, any

                 term, restriction, covenant, or promise is held to be unenforceable for any

                 reason, then such term, restriction, covenant, or promise shall be deemed

                 modified to the extent necessary to make it enforceable by such court or

                 other tribunal and, if it cannot be so modified, then this Agreement shall be

                 deemed amended to delete from this Agreement such provision or portion

                 adjudicated to be invalid or unenforceable, and this Agreement shall be

                 deemed to be in full force and effect as so modified.




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          No Penalty or Fine

         9.6.1   The Parties agree and acknowledge that no consideration, amount, or sum

                 paid, credited, offered, or extended, or to be paid, credited, offered, or

                 extended, by Syngenta in the performance of this Agreement constitutes a

                 penalty, fine, or any other form of assessment for any alleged claim or

                 offense.

          Receipt of Advice of Counsel

         9.7.1   Representative Plaintiffs acknowledge, agree, and specifically warrant and

                 represent that they have discussed with Settlement Class Counsel, Subclass

                 Counsel, or the Plaintiffs’ Negotiating Committee (or their designees) the

                 portions of this Agreement relevant to them, including the release of

                 Released Claims contained in Section 6, and received legal advice with

                 respect to the advisability of entering into this Agreement, and the legal

                 effect of this Agreement.

          Timing

         9.8.1   Settlement Class Counsel and Syngenta may agree in writing to reasonable

                 extensions of time to carry out the provisions of this Agreement.

          No Tax Advice

         9.9.1   No opinion regarding the tax consequences of this Agreement to any

                 individual Class Member is being given or shall be given by Syngenta or its

                 counsel, nor is any representation or warranty in this regard made by virtue

                 of this Agreement. Class Members must consult their own tax advisors

                 regarding the tax consequences of the Settlement, including any payments




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               provided hereunder and any tax reporting obligations they may have with

               respect to this Agreement. Each Class Member’s tax obligations, and the

               determination thereof, are his, her, or its sole responsibility, and it is

               understood that the tax consequences may vary depending on the particular

               circumstances of each individual Class Member. Released Parties shall

               have no liability or responsibility whatsoever for any such tax consequences

               resulting from payments under this Agreement. To the extent required by

               law, the Released Parties shall report payments made under this Agreement

               to the appropriate authorities.

          Notice of Breach

         9.10.1 The waiver by any of the Parties of any provision of or breach of this

               Agreement, in whole or in part, by another Party shall not be deemed or

               construed as a waiver of any other provision of or breach of this Agreement,

               whether prior, subsequent, or contemporaneous, to this Agreement. In the

               event that one Party to this Agreement is notified in writing by the other

               Party of any alleged breach of this Agreement, the allegedly-breaching

               Party shall have fourteen (14) days from the date of receipt of such notice

               to cure any such alleged breach and to notify the other Party, in writing, of

               the cure implemented to address the alleged breach. If the Party asserting

               the breach is not satisfied with the cure, that Party shall have the right to

               petition the Court for relief within thirty days after receipt of notice of the

               cure.

          Notices




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         9.11.1 All notices, except for the notifications described in Section 9.11.2, required

                by this Agreement shall be sent by overnight delivery and electronic mail.

                Written notice to the Representative Plaintiffs or Settlement Class Counsel

                or Subclass Counsel must be given to Settlement Class Counsel as set forth

                in Section 4.4.1. Written notice to Syngenta must be given to counsel for

                Syngenta as set forth in Section 4.4.1. Notices received by Settlement Class

                Counsel and/or Syngenta shall be provided to Subclass Counsel and

                Plaintiffs’ Negotiating Committee.

         9.11.2 All notifications required to be sent by the Claims Administrator under this

                Agreement shall be provided by a method selected by the Claims

                Administrator as the most efficient. The use of electronic mail to an address

                supplied by counsel for the Class Member or the Class Member directly if

                not represented by counsel, shall be sufficient for all notifications required

                to be sent by the Claims Administrator. Notice may also be served by any

                other reasonable method determined by the Claims Administrator.

          Enforcement

         9.12.1 Only if this Settlement is finally approved by the Court and becomes Final,

                this Agreement may be pleaded as a full and complete defense to any action,

                suit, or other proceeding that has been or may be instituted, prosecuted or

                attempted against the Released Parties in such capacity with respect to any

                of the Released Claims, and may be filed, offered, received into evidence,

                and otherwise used for such defense. This Agreement may also be used in

                connection with the Parties’ application for approval or enforcement of this




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                Agreement and all proceedings incident to this Agreement, including

                requests for attorneys’ fees, costs, disbursements and compensation to the

                Settlement Classes, and any disputes arising from this Agreement.

          Authorization to Enter Agreement

         9.13.1 The undersigned representatives of Syngenta represent that they are fully

                authorized to enter into and execute this Agreement on behalf of Syngenta.

                Settlement Class Counsel, Subclass Counsel, and Plaintiffs’ Negotiating

                Committee represent that they are fully authorized to conduct settlement

                negotiations with counsel for Syngenta on behalf of the Representative

                Plaintiffs and Class Members and to enter into and execute this Agreement

                on their behalf, subject to approval by the Court pursuant to Fed. R. Civ. P.

                23.

          No Party Is the Drafter

         9.14.1 None of the Parties to this Agreement shall be considered the drafter of this

                Agreement or any provision thereof for the purpose of any statute, case law

                or rule of construction that would or might cause any provision to be

                construed against the drafter.

          Choice of Law

         9.15.1 This Agreement shall be governed by and interpreted in accordance with

                the substantive laws of the state of Delaware without regard to its choice of

                law or conflict of laws principles. The Court shall maintain continuing

                jurisdiction over this matter in any proceeding to interpret, enforce, modify,

                or set aside the terms of this Agreement.




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          Computing Dates

         9.16.1 For all deadlines under this Agreement, to compute deadlines (a) exclude

                the day of the event that triggers the period; (b) count every calendar day,

                including intermediate Saturdays, Sundays and legal holidays; and (c)

                include the last day of the period, but if the last day is a Saturday, Sunday

                or legal holiday, the period continues to run until the end of the next day

                that is not a Saturday, Sunday or legal holiday.

          Time for Compliance

         9.17.1 If the date for performance of any act required by or under this Agreement

                is due to be performed on or by a Saturday, Sunday, or legal holiday, that

                act may be performed on the next business day with the same effect as if it

                had been performed on the day or within the period of time specified by or

                under this Agreement.

          Jurisdiction and Dispute Resolution

         9.18.1 Pursuant to the Final Approval Order, and except as provided for in Sections

                7.2.3 and 9.18.2 of this Agreement, the Court shall retain continuing and

                exclusive jurisdiction over the Parties and their counsel, the Special

                Masters, the Notice Administrator, and the Claims Administrator, the

                Settlement Fund and the trustee of the Settlement Fund, and all Class

                Members with respect to the terms of this Agreement, the proper provision

                of all benefits thereunder, and the implementation and enforcement of its

                terms, conditions, and obligations. The terms of this Agreement shall be

                incorporated into the Final Approval Order of the Court, which shall allow




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                that Final Approval Order to serve as an enforceable injunction by the Court

                for purposes of the Court’s continuing jurisdiction related to this

                Agreement.

         9.18.2 The Court also shall retain exclusive and continuing jurisdiction over the

                Fee and Expense Award; however, as set forth in Section 7.2.2 of this

                Agreement any Fee and Expense Award shall be issued by the Court, in

                consultation with and approved by the Honorable David R. Herndon of the

                United States District Court for the Southern District of Illinois and the

                Honorable Laurie J. Miller of the Fourth Judicial District Court, County of

                Hennepin, State of Minnesota (or if they are unavailable, another judge from

                their respective courts). Moreover, as set forth in Section 7.2.3, the Court

                shall retain jurisdiction over any disputes arising out of or relating to the

                orders of the Court relating to the Fee and Expense Award, except that:

                9.18.2.1       Matters arising from client fee contracts and referring

                       counsel referral agreements involving the law firm of Clark, Love,

                       & Hutson shall be subject to the jurisdiction of the Honorable David

                       J. Herndon of the United States District Court for the Southern

                       District of Illinois (or if he is unavailable, another judge from his

                       respective court). For example, Judge Herndon shall have exclusive

                       and continuing jurisdiction to:

                           •   Approve fee disbursements with respect to all Class

                               Members represented by Clark, Love, & Hutson; and




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                          •   Decide disputes between counsel for various Class Members

                              arising out of the representation of Class Members

                              represented by Clark, Love, & Hutson.

                      Nothing in this Section is intended to interfere with the claims

                      administration process or the allocation process as it relates to the

                      national class settlement to be filed before and overseen by the

                      Honorable John W. Lungstrum and the United States District Court

                      for the District of Kansas. However, it is specifically agreed herein

                      that any dispute as it relates to Section 9.18.2.1 shall be under the

                      exclusive and continuing jurisdiction of the Honorable David

                      Herndon and the United States District Court for the Southern

                      District of Illinois.

               9.18.2.2       Matters arising from client fee contracts and referring

                      counsel referral agreements involving Class Members with claims

                      pending at any time in In re Syngenta Class Action Litigation, Court

                      File No. 27-CV-15-12625, in the Fourth Judicial District Court,

                      County of Hennepin, State of Minnesota (the “Minnesota

                      Plaintiffs”), shall be subject to the jurisdiction of the Honorable

                      Laurie J. Miller of the Fourth Judicial District Court, County of

                      Hennepin, State of Minnesota (or if she is unavailable, another judge

                      from her respective court). For example, Judge Miller shall have

                      exclusive and continuing jurisdiction to:




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                           •   Approve fee disbursements with respect to all Minnesota

                               Plaintiffs; and

                           •   Decide disputes between counsel for various Class Members

                               arising out of the representation of any Minnesota Plaintiffs.

                       Nothing in this Section is intended to interfere with the claims

                       administration process or the allocation process as it relates to the

                       national class settlement to be filed before and overseen by the

                       Honorable John W. Lungstrum and the United States District Court

                       for the District of Kansas. However, it is specifically agreed herein

                       that any dispute as it relates to Section 9.18.2.2 shall be under the

                       exclusive and continuing jurisdiction of the Honorable Laurie J.

                       Miller, of the Fourth Judicial District Court, County of Hennepin,

                       State of Minnesota.

         9.18.3 Subject to the exclusive jurisdiction of the Court as set forth in Section

                9.18.1, and except as set forth in Sections 7.2.3 and 9.18.2, any dispute

                between any of the Parties arising out of or in any way relating to this

                Agreement, including, without limitation, the determination of whether this

                provision is applicable to a dispute, shall be determined by a binding,

                mandatory arbitration administered by the Special Masters (the

                “Arbitration”). Any party to the dispute may file an action in the Court to

                enforce this Arbitration provision. If any party to such a dispute fails to

                submit to Arbitration following the filing, then the party to the dispute

                failing to submit to Arbitration shall bear the other party’s reasonable costs,




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                including attorneys’ fees, paid in connection with compelling Arbitration.

                The Arbitration and all related proceedings shall occur in the Special

                Masters’ office or such other location as the Special Masters shall specify

                and at such times as the Special Masters shall specify. The rules and

                procedures applicable to the Arbitration shall be determined by the Special

                Masters, provided, the Special Masters shall issue the Special Masters’

                Award (the “Award”) within thirty (30) days after the Special Masters’

                receipt of a demand for Arbitration. The Special Masters’ determination

                with respect to the Arbitration shall be final and non-appealable. Judgment

                enforcing the Special Masters’ determination and Award may be entered in

                any court of competent jurisdiction.

          Administrative Procedures

         9.19.1 The Claims Administrator may create administrative procedures,

                supplementary to (and not inconsistent with) those specified herein that

                provide further specific details about how the Settlement is to be

                administered, and/or other aspects of the Settlement, including, but not

                limited to, procedures regarding submission of documents or procedures

                regarding execution and signature of documents; provided, however, that

                such procedures comply, or otherwise are not in conflict, with the terms of

                this Agreement, and are agreed to by the Parties and approved by the Court.

          Liability of Administrative Personnel

         9.20.1 No Claims Administrator, Notice Administrator, Special Master, trustee of

                the Settlement Fund, or employee or agent thereof, shall be liable to any




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                  Class Member or his counsel for his acts or omissions, or those of any agent

                  or employee thereof, in connection with the Settlement except, with respect

                  to each such Person, for such Person’s own willful misconduct. Nothing in

                  this Section confers on any Class Member or his counsel any privity of

                  contract with, or other right to institute any action against, the Claims

                  Administrator, Notice Administrator, Special Masters, or trustee of the

                  Settlement Fund.     In the event that the Claims Administrator, Notice

                  Administrator, Special Masters or trustee of the Settlement Fund must

                  comply with any discovery obligations related to its work under this

                  Agreement, the requesting party bears the cost of complying with such

                  discovery obligation and such work and costs are expressly excluded from

                  this Agreement.

          Liens

         9.21.1 If the Claims Administrator, Syngenta, Settlement Class Counsel, Subclass

                  Counsel, Plaintiffs’ Negotiating Committee, the Court, or the Special

                  Masters receive notification of any lien asserted against any payments to be

                  made to any Class Member, including but not limited to tax liens and child

                  support liens, an amount sufficient for the satisfaction of such liens may be

                  withheld from such Class Member’s payments, until each such lien has been

                  finally and completely satisfied.         The Court shall have exclusive

                  jurisdiction to decide the enforceability of any lien, except that any lien for

                  attorneys’ fees and expenses arising out of the matters falling within

                  Sections 9.18.2.1 and 9.18.2.2 shall be subject to the exclusive jurisdiction




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                     of the respective courts described therein.       Each Class Member will

                     indemnify, repay and hold the Released Parties, the Claims Administrator,

                     and the trustee of the Settlement Fund harmless from any and all such

                     claims.

              Amendment or Waiver

              9.22.1 This Agreement shall not be modified in any respect except by a writing

                     executed by all Parties to this Agreement.        The waiver of any rights

                     conferred by this Agreement shall be effective only if made in writing by

                     the waiving Party. The waiver by any Party of any breach of this Agreement

                     shall not be deemed or construed as a waiver of any other breach, whether

                     prior to, subsequent to, or contemporaneous with this Agreement.

              Execution in Counterparts

              9.23.1 This Agreement may be executed in counterparts.           Facsimile or PDF

                     signatures shall be valid signatures as of the date thereof.

              Integrated Agreement

              9.24.1 This Agreement, including its exhibits and the Parties’ side agreement

                     referenced in Section 8.3.1 above that is to be filed with the Court under

                     seal, contains an entire, complete, and integrated statement of the terms

                     agreed to by and between the Parties, and supersedes all prior proposals,

                     negotiations, agreements, and understandings relating to the subject matter

                     of this Agreement.

       IN WITNESS WHEREOF, the Parties to this Agreement, by and through their fully

                                                                      February 26th
authorized representatives, have executed this Agreement as of _____________________, 2018.




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     FOR PLAINTIFFS

     By:
     Name: Daniel E. Gustafson


     By:
     Name: Christopher A. Seeger


     By:
     Name: Patrick J. Sainte


     By:
     Name: Lynn R. Johnson


     By:
     Name: Kenneth A. Wexler


     By:
     Name: James E. Cecchi


     By:
     Name: Clayton A. Clark


     By:
     Name: Mikal C. Watts


     By:
     Name: William B. Chancy


     By:    0 77
     Name: Don M. Downing


     By:
     Name: Scott A. Powell




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                                                          2/2312018 F|NAL


     r.OR PLAINTIFFS

     tsy:
     Name: DEniel E. Gustafbon


     By



     By:
     Name: Patrick J. Stueve


     By:
     Name: Lynn R, Johnson


     By:
     Narne: Kennsth A. WExlsr


     By:
     Namo: JnmEs E. Cecehi



             Clayton A. Clark


     By:
     Nams; MikalC. Waas


     By:
     Namo: William ts. Chaney


     By:
     Name:       M. Downing


     By:              4
     Namq SeottA. FowEll




                                 7t
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     FOR PLAINTIFFS

     By:
     Name: Daniel E. Gustafson


     By:
     Name: Christopher A. Seeger


     By:
     Name: Patrick J. Stueve




     By
     Name: Kenneth A. Wexler


     By:
     Name: James E. Cecchi


     By:
     Name: Clayton A. Clark


     By:
     Name: Mikal C. Watts


     By:
     Name: William B. Chaney


     By:
     Name: Don M. Downing


     By:
     Name: Scott A. Powell




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                                                          2/23/2018 FINAL



    FOR SYNGENTA


    By: ___
    Name: Leslie M. Smith, P.C.


    By: _____________
    Name: Syngenta AG


    By: _________________________
    Name: Syngenta Crop Protection AG



    Name: Syngenta Corporation sj


    By:                              ...
    Name: Syngenta Crop Protection, LLC


    By: _
    Name: Syngenta Seeds,'




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